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                        Exhibit 6
                                                 Purchase
                             Case 6:23-cv-01882-MC        Order56-6
                                                     Document                                  Filed 12/16/24              Page 2 of 2
                                                                           Siemens Medical Solutions USA, INC.

______________________________________
                                                                           Purchase Order number must appear on                       Sales Tax ID #
Siemens Medical Solutions USA, Inc.
                                                                           all address labels, shipping papers, and invoices          222-417-778/000
40 Liberty Boulevard, Malvern, PA 19355
Purchase Order #                     Purchase Order Date                    Purchasing Group & Phone                                  Page: 1 OF
5333478                              06/13/2019                             HQ CT Equipment 610 219 6300                                1 Pages

Desired Delivery Date             Terms of Payment                                                         Quotation No.                 Currency
06/14/2019                        Net 30 days                                                                                            USD
                                                           Dispatch Type:        Truck

TO:                                                                                 SHIP TO ADDRESS:
  WS ACQUISITION LLC                                                               WESTERN SHELTER
  830 WILSON ST 83080 60691-3010
  EUGENE OR 97402-2713                                                             815 CONGER ST
  US                                                                               EUGENE OR 97402 US

Header Text :                                    Shipping Instructions :                               Delivery Instructions :
SO 30226532
PM = Nadira Persaud
QUOTE 8836 6/11/19
Z000P6BC 06/13/2019 15:46:00




 Item No                       Material Number                    Ordered             Unit           Discount          Net Unit               Total
                                Description                       Quantity           Price                              Price

    10                                                                   1            171,428.57         0.00            171,428.57            171,428.57
              S-NRE                                                     EA

    20                                                                   1            172,101.85         0.00            172,101.85            172,101.85
              2-88-00200                                                EA

    30                                                                   1               23,361.95       0.00             23,361.95             23,361.95
              2-88-00201                                                EA

                                                                                                                           TOTAL =             366,892.37




   Authorization Signature                                                                                      Date

                                                 Please Invoice to:http://www.iolportal.com/siemens/
This Siemens Medical Solutions USA, Inc. Purchase Order, for the products and services described herein at the stated prices and terms,is subject
to your acceptance of the terms and conditions, located at: http://www.usa.siemens.com/SupplierStandards. Supplier must provide immediate
notification in writing to Siemens of any part changes to the product,service,or internal process for any item covered by this Purchase Order.
                                Please acknowledge the Purchase Order within five (5) workingdays.
